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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:06-cr-00027-MP-AK

GIOVANNI G. CONEY,

       Defendant.

________________________________/

                                           ORDER

       This matter is before the Court on Doc. 99, Motion to Continue Change of Plea, filed by

Defendant Coney. A teleconference was held on Tuesday, December 19, 2006. At the

conference, Defendant requested a thirty-day continuance in his change of plea, currently

scheduled for December 20, 2006, at 2:00 p.m., stating that counsel has not had adequate time to

finish conducting discovery. The Government does not object to the continuance. Because the

Court finds that the ends of justice are served by allowing counsel for Defendant the time

necessary for effective preparation, the motion is granted. Accordingly, Defendant Coney’s

change of plea is hereby continued to Friday, January 19, 2007, at 11:00 a.m.


       DONE AND ORDERED this            19th day of December, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
